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 9 INC., WILLIAMS-SONOMA ADVERTISING, INC.,
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10 INC., POTTERY BARN KIDS, INC., POTTERY BARN
   TEEN, INC., and WEST ELM, INC.
11

12                           UNITED STATES DISTRICT COURT
13            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
14 WILLIAM RUSHING, Individually and on          Case No. 3:16-cv-01421-WHO
   Behalf of all Others Similarly Situated,
15                                               Assigned to the Hon. William H. Orrick
                  Plaintiff,
16                                               CLASS ACTION
          v.
17                                               DEFENDANTS’:
   WILLIAMS-SONOMA, INC., a Delaware
18 corporation, d/b/a WILLIAMS-SONOMA and        (1) NOTICE OF MOTION AND MOTION
   WILLIAMS-SONOMA HOME; WILLIAMS-                   TO DISMISS FIRST AMENDED
19 SONOMA DTC, INC., a California                    CLASS COMPLAINT; AND
   corporation; WILLIAMS-SONOMA
20 ADVERTISING, INC., a California               (2) MEMORANDUM OF POINTS AND
   corporation; WILLIAMS-SONOMA                      AUTHORITIES IN SUPPORT
21 STORES, INC., a California corporation;           THEREOF
   POTTERY BARN, INC., a California
22 corporation; POTTERY BARN KIDS, INC., a       Hearing
   California corporation; POTTERY BARN          Date:         June 8, 2016
23 TEEN, INC., a California corporation also     Time:         2:00 p.m.
   d/b/a PBTEEN and PB Dorm; WEST ELM,           Courtroom:    2
24 INC., a California corporation; and DOES 1-
   30,                                           Complaint Filed: January 29, 2016
25                                               Action Removed: March 23, 2016
                  Defendants.                    Trial Date:      None Set
26

27

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 1           TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2 RECORD:

 3           PLEASE TAKE NOTICE that on June 8, 2016 at 10:00 a.m., or as soon thereafter as
 4 counsel may be heard, in Courtroom 2 on the 17th floor of the United States District Court for the

 5 Northern District of California, San Francisco Division, located at 450 Golden Gate Avenue, San

 6 Francisco, California 94102, the Honorable William H. Orrick presiding, Defendants Williams-

 7 Sonoma, Inc., Williams-Sonoma DTC, Inc., Williams-Sonoma Advertising, Inc., Williams-

 8 Sonoma Stores, Inc., Pottery Barn, Inc., Pottery Barn Kids, Inc., Pottery Barn Teen, Inc., and West

 9 Elm, Inc. (collectively “Defendants”) will and hereby do move the Court, pursuant to Federal

10 Rule of Civil Procedure 12(b)(6), for an order dismissing the First Amended Class Action

11 Complaint (the “FAC”) filed by Plaintiff William Rushing (“Plaintiff”) for failure to state facts

12 sufficient to constitute a cause of action.

13           Defendants’ motion to dismiss (the “Motion”) is made on the following grounds. First,
14 Plaintiff lacks standing to pursue claims for violations of California’s Unfair Competition Law

15 (“UCL”) and False Advertising (“FAL”), for breach of express warranty and implied warranty of

16 merchantability, or for unjust enrichment based on advertising statements he did not see, and

17 products he did not purchase. Plaintiff alleges that he viewed a single advertisement and

18 purchased a single product from Defendant Williams-Sonoma Inc.’s Williams-Sonoma Home
19 brand. This does not confer standing to pursue claims arising from advertising and sale of all

20 bedding by all Defendants. Second, with regard to the actual advertisement that Plaintiff viewed

21 and product he purchased, Plaintiff’s: (1) FAL claims fail because the alleged false or misleading

22 statement complies with applicable law and is not false or misleading; (2) UCL claims fail because

23 Plaintiff has not adequately alleged any unlawful, unfair, or fraudulent conduct; (3) breach of

24 warranty claims fail because Plaintiff has not alleged pre-suit notice or any actual breach; and (4)

25 unjust enrichment claims fail because unjust enrichment is not a cognizable claim in California

26 and, even if it were, it is duplicative of Plaintiff’s other claims, and Plaintiff has not alleged any

27 unjust benefit to Defendants.

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 1           This Motion is based on this Notice, the accompanying Memorandum of Points and

 2 Authorities, all pleadings, papers and other documentary materials in the Court’s file for this

 3 action, those matters of which this Court may or must take judicial notice, and such other matters

 4 as the Court may consider.

 5 Dated: April 20, 2016                SHEPPARD MULLIN RICHTER & HAMPTON LLP

 6
                                        By                    /s/ Benjamin O. Aigboboh
 7
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11
                                                   SONOMA DTC, INC., WILLIAMS-SONOMA
12                                                 ADVERTISING, INC., WILLIAMS-SONOMA
                                                 STORES, INC. POTTERY BARN, INC., POTTERY
13                                               BARN KIDS, INC., POTTERY BARN TEEN, INC.,
                                                             and WEST ELM, INC.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.        INTRODUCTION
 3           Plaintiff William Rushing (“Plaintiff”) spends 40 pages and 160 paragraphs to make what
 4 is a simple claim—that Defendants 1 marketed sheets and a pillowcase set that Plaintiff purchased

 5 as having qualities that Plaintiff alleges they do not have. Based on Plaintiff’s online purchase of

 6 a set of Williams-Sonoma Home “Signature” sheets and an extra set of “Signature” pillow cases,

 7 Plaintiff attempts to state claims against each and every brand and/or subsidiary owned and

 8 operated by Defendant Williams-Sonoma, Inc. for each brand’s and/or subsidiary’s sale of all

 9 “bedding” over the last four years. Plaintiff, however, has failed to state a claim against any of the

10 Defendants, and the First Amended Class Action Complaint (“FAC”) should be dismissed.

11           As an initial matter, Plaintiff lacks standing to pursue claims for violation of California’s

12 False Advertising Law, codified at Cal. Bus. & Prof. Code § 17500 et seq. (the “FAL”), violation

13 of California’s Unfair Competition Law, codified at Cal. Bus. & Prof. Code § 17200 et seq. (the

14 “UCL”), breach of express warranty, breach of implied warranty of merchantability, and unjust

15 enrichment based on advertising that Plaintiff did not view, or products that Plaintiff did not

16 purchase because Plaintiff cannot establish any injury arising from such advertising or products.

17 Thus, Plaintiff’s claims arising from bedding other than the Williams-Sonoma Home “Signature”

18 sheets and pillow cases he purchased fail. Furthermore, because Plaintiff does not allege that
19 Defendants WSS, Pottery Barn, PBKids, PBteen, or West Elm sold or marketed the Williams-

20 Sonoma Home “Signature” sheets and pillow cases he purchased, all claims against them fail, and

21 they should be dismissed.

22           Plaintiff also cannot state any claims based on the Williams-Sonoma Home “Signature”

23 sheets and pillow cases he purchased. First, Plaintiff’s FAL claims fail because WSI’s,

24 WSDTC’s, and WSA’s purported advertising of the Williams-Sonoma Home “Signature” sheets

25 and pillow cases as “600-thread-count two ply” complies with federal regulations that require

26   1
     Williams-Sonoma, Inc. (“WSI”), Williams-Sonoma DTC, Inc. (“WSDTC”), Williams-Sonoma
27 Advertising Inc. (“WSA”), Williams-Sonoma Stores, Inc. (“WSS”), Pottery Barn, Inc. (“Pottery
   Barn”), Pottery Barn Kids, Inc. (“PBKids”), Pottery Barn Teen, Inc. (“PBteen”), and West Elm,
28 Inc. (“West Elm”) are referred to herein collectively as “Defendants.”

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 1 individual threads within multi-ply yarns to be counted individually. Further, these statements are

 2 neither untrue nor misleading as they clearly identify that the sheets and pillow cases Plaintiff

 3 purchased are “two ply.” Plaintiff’s other FAL allegations related to the bedding he purchased—

 4 that they are not actually from Italy and are not Egyptian cotton—are not supported by any facts.

 5 Second, Plaintiff’s UCL claim fails because he has not alleged any unlawful, fraudulent, or unfair

 6 conduct by WSI, WSDTC, or WSA. The alleged advertising statements comply with applicable

 7 law and are not false or misleading. Third, Plaintiff’s warranty claims fail because Plaintiff has

 8 not alleged any pre-suit notice or any actual breach. Finally, Plaintiff’s unjust enrichment claim

 9 fails because it is not a cognizable claim in California and—even if it is treated as one—it is

10 duplicative of Plaintiff’s other claims, and unavailing because Plaintiff has not alleged that

11 Defendants unjustly retained a benefit conferred upon them by Plaintiff.

12 II.       ALLEGATIONS IN THE FAC
13           A.          The Parties
14                       1.    Plaintiff
15           Plaintiff is a citizen and resident of Kentucky. (FAC ¶ 15.)

16                       2.    Defendants
17           Plaintiff alleges that: (1) Defendant WSI sells home furnishings through retail stores,

18 catalogs and e-commerce, and owns and operates several brands, inter alia, Williams-Sonoma,
19 which Plaintiff alleges sells cookware and related items, and Williams-Sonoma Home, which

20 Plaintiff alleges WSI opened in 2005 as its upscale furniture and home furnishings division; (2)

21 Defendant WSDTC is a wholly-owned subsidiary of WSI, and manages WSI’s online and catalog

22 sales; (3) Defendant WSA is a wholly-owned subsidiary of WSI, and is responsible for advertising

23 WSI’s products; (4) Defendant WSS is a wholly-owned subsidiary of WSI, and is responsible for

24 operating WSI’s brick-and-mortar stores; (5) Defendant Pottery Barn is a wholly-owned

25 subsidiary of WSI, and sells furniture and home furnishings through retail stores, Pottery Barn

26 catalogs, and Pottery Barn’s e-commerce website available at www.potterybarn.com; (6)

27 Defendant PBKids is a wholly-owned subsidiary of WSI, and sells furniture and home furnishings

28 through retail stores, Pottery Barn catalogs, and Pottery Barn’s e-commerce website; (7)

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 1 Defendant PBteen is a wholly-owned subsidiary of WSI, and sells furniture and home furnishings

 2 through retail stores, Pottery Barn catalogs, and Pottery Barn’s e-commerce website; and (8)

 3 Defendant West Elm is a wholly-owned subsidiary of WSI, and sells furniture and home

 4 furnishings through its retail stores, catalogs, and e-commerce website. (FAC ¶¶ 16-25.)

 5           B.          Plaintiff’s Alleged Purchase
 6           Plaintiff alleges that, in early 2015, he wanted to purchase a set of sheets and pillowcases

 7 for his wife for Valentine’s Day. (FAC ¶ 117.) Plaintiff had “purchased other items from

 8 Williams-Sonoma and was aware that it would be more expensive than buying from other

 9 retailers,” but believed it would be worth the expense to provide his wife “soft, luxurious, high-

10 quality sheets” to mark the special occasion. (Id.)

11           On or about February 10, 2015, Plaintiff purchased Williams-Sonoma Home-branded

12 “Signature 600-Thread-Count Sateen Bedding” and a set of matching pillowcases (collectively,

13 the “WSH Signature Bedding”) from the Williams-Sonoma Home website. (FAC ¶¶ 118-119.)

14 Plaintiff made his purchase through the Williams-Sonoma Home website because “Williams-

15 Sonoma Home products are not sold in [his] home state” of Kentucky (Id. ¶ 119.) As a result,

16 Plaintiff relied solely on the representations about the WSH Signature Bedding on the Williams-

17 Sonoma Home website when making his purchase decision. (Id.)

18           Plaintiff chose the WSH Signature Bedding because the Williams-Sonoma Home “website

19 advertised [it] as being 600 thread count, made in Italy, made of Egyptian cotton, and the retailer’s

20 ‘Signature’ line.” (FAC ¶ 118.) Plaintiff alleges that the product listing for the WSH Signature

21 Bedding described it as “[s]ewn from lustrous 600-thread-court two ply Egyptian-cotton sateen”

22 and “Italian bedding.” (Id. ¶ 120.) The final cost for the WSH Signature Bedding was $774.20.

23 (Id. ¶ 122.)

24           Plaintiff alleges that, when he received the WSH Signature Bedding, it was not “of high

25 quality, extremely soft [or] luxurious.” (FAC ¶ 125.) Plaintiff therefore decided not to give the

26 WSH Signature Bedding to his wife for Valentine’s Day. (Id.) Plaintiff does not allege what he

27 did with the WSH Signature Bedding or if he attempted to return it.

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 1           Plaintiff alleges that “testing that complies with the ASTM International Standard

 2 Designation D3775-12” reveals that the WSH Signature Bedding “is not 600 thread count, but

 3 merely 291.” (FAC ¶ 52.) Plaintiff contends that the WSH Signature Bedding is not 600 thread

 4 count because “WSI improperly counted the two plies of the thread in calculating the thread

 5 count….” (FAC ¶ 55.) Plaintiff alleges that he recently learned the WSH Signature Bedding “was

 6 only approximately 291 thread count and that it was overpriced,” and that, “[b]ecause of the

 7 falsely stated thread count, he also doubts with [sic] the sheets are actually Egyptian cotton or

 8 made in Italy….” (Id.)

 9           C.          Allegations Regarding Products Other Than The WSH Signature Bedding
10           The FAC is not limited to the WSH Signature Bedding actually purchased by Plaintiff

11 through the Williams-Sonoma Home website. The FAC also includes the following allegations

12 about specific products offered by Defendants, but which were not purchased by Plaintiff: (1)

13 Pottery Barn’s “700 THREAD-COUNT SHEET SET” (“Pottery Barn Sheet Set”), which

14 Plaintiff alleges is marketed as “1 PLY,” is “made of single ply thread,” and has “a thread count of

15 approximately 570”; (2) PBteen’s “400 Thread-Count Sheet Set” (“PBteen Sheet Set”), which

16 Defendants “did not market…as being more than one-ply,” is “made of a single ply thread,” and

17 has “a thread count of approximately 208”; and (3) West Elm’s “350 Thread Count Organic

18 Cotton Sateen Sheet Set” (“West Elm Sheet Set”), which Plaintiff alleges “has a thread count of
19 approximately 320.” (FAC ¶¶ 60, 63, 66.)

20           D.          Plaintiff’s Claims
21           Based on the allegations in the FAC, Plaintiff has asserted claims for (1) “Misleading and

22 Deceptive Advertising” under Cal. Bus. & Prof. Code § 17500; (2) “Untrue Advertising” under

23 Cal. Bus. & Prof. Code § 17500; (3) “Unlawful Business Practices” under Cal. Bus. & Prof. Code

24 § 17200; (4) “Unfair Business Practices” under Cal. Bus. & Prof. Code § 17200; (5) “Fraudulent

25 Business Practices” under Cal. Bus. & Prof. Code § 17200; (6) “Breach of Express Warranty”

26 under U.C.C. Article 2; 76) “Breach of Implied Warranty of Merchantability” under U.C.C.

27 Article 2; and (8) “Unjust Enrichment.” (FAC ¶¶ 128-183.)

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 1 III.      STANDARDS APPLICABLE TO THE MOTION TO DISMISS (“MOTION”)
 2           A motion to dismiss should be granted when the complaint fails “to state a claim to relief

 3 that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127, S. Ct. 1955,

 4 1973, 167 L. Ed. 929, 949 (2007). The complaint must plead sufficient facts from which a court

 5 could “draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 6 Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 26 868, 884 (2009).

 7           Although courts draw reasonable inferences in favor of the non-moving party in ruling on

 8 a motion to dismiss, a valid legal theory must exist to save a claim from dismissal. Anderson v.

 9 Clow, 89 F.3d 1399, 1403 (9th Cir. 1996). Courts not need “assume the truth of legal conclusions

10 merely because they are cast in the form of factual allegations.” Western Mining Council v. Watt,

11 643 F.2d 618, 624 (9th Cir. 1981). Complaints that demonstrate “an obvious alternative

12 explanation of legality” do not plausibly establish a claim to relief. Iqbal, 556 U.S. at 682.

13 IV.       PLAINTIFF LACKS STANDING TO PURSUE CLAIMS OTHER THAN THOSE
             RELATED TO THE WSH SIGNATURE BEDDING
14
             In order to have standing under the FAL, which prohibits false or mislead advertising, a
15
     plaintiff must plead that he or she “suffered injury in fact and lost money or property” as a result
16
     of the allegedly misleading or untrue advertising. Merritt v. Countrywide Fin. Corp., 2014 U.S.
17
     Dist. LEXIS 142842, at *10 (N.D. Cal. Oct. 7, 2014) (quoting Cal. Bus. & Prof. Code § 17204).
18
     Similarly, standing under the UCL, which prohibits unlawful, fraudulent, and unfair business
19
     practices, requires that plaintiffs “allege facts showing that they lost money or property as a result
20
     of Defendants’ alleged unlawful, unfair, or fraudulent acts.” Id. at *11. A plaintiff seeking to
21
     pursue claims for breach of express warranty or implied warranty of merchantability must
22
     establish an injury-in-fact arising from the warranty for the particular product. See, e.g., Guttmann
23
     v. La Tapatia Tortilleria, Inc., 2015 U.S. Dist. LEXIS 156800, at **10-11 (N.D. Cal. Nov. 18,
24
     2015); Brothers v. Hewlett-Packard Co., 2006 U.S. Dist. LEXIS 82027, at **9-10 (N.D. Cal. Oct.
25
     31, 2006). Finally, to the extent unjust enrichment is even a cognizable claim in California (it is
26
     not, as is discussed below), a plaintiff must show that he or she was injured by conferring a benefit
27

28

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 1 upon defendant which defendant unjustly retained at plaintiff’s expense. Lectrodryer v.

 2 Seoulbank, 77 Cal. App. 4th 723, 727 (2000).

 3           Plaintiff cannot establish standing for claims based on products he did not purchase.

 4 Plaintiff purchased the WSH Signature Bedding. (FAC ¶¶ 118-120.) Plaintiff, however, seeks to

 5 pursue claims for “all bedding” sold by Defendants including, but not limited to, the Pottery Barn

 6 Sheet Set, the PBteen Sheet Set, and the West Elm Sheet Set. (Id. ¶¶ 60, 63, 66, 96.) Plaintiff did

 7 not purchase these products, and lacks standing to pursue claims based on them because he cannot

 8 establish any injury related to them. See, e.g., Arroyo v. TP-Link USA Corp., 2015 U.S. Dist.

 9 LEXIS 133473, at **9-11 (N.D. Cal. Sept. 29, 2015) (dismissing UCL and FAL claims because

10 plaintiff did not have “standing for products the Plaintiff did not purchase….”); Leonhart v.

11 Nature’s Path Foods, Inc., 2014 U.S. Dist. LEXIS 46413, at **14-15 (N.D. Cal. Mar. 31, 2014)

12 (dismissing UCL and FAL claims because plaintiff lacked standing to “assert[] claims

13 regarding…products she did not buy.”). 2

14           Similarly, Plaintiff cannot pursue claims based on advertising he did not see. Plaintiff

15 alleges that he viewed the listing for the WSH Signature Bedding on the Williams-Sonoma Home

16 website. (FAC ¶¶ 118-121.) Plaintiff, however, asserts claims based on “descriptions of

17 [Defendants] offerings” via “the Internet, catalogs, and showrooms, marketing and promotional

18 materials….” (Id. ¶ 130.) Plaintiff does not allege that he viewed any advertising in catalogs or
19 showrooms, saw any Internet advertising—other than the product listing for the WSH Signature

20 Bedding—or viewed any other marketing or promotional materials. In fact, Plaintiff admits that

21 “[a]s Williams-Sonoma Home products are not sold in Mr. Rushing’s home state, he had to rely

22 on WSI and its Advertising and Marketing Subsidiaries’ representations about the product on

23   2
     See also Granfield v. Nvidia Corp., 2012 U.S. Dist. LEXIS 98678, at **18-19 (N.D. Cal. 2012)
24 (striking allegations related to products that plaintiff did not purchase because “a plaintiff has
   standing to assert injury based on a defective product or false advertising only if the plaintiff
25 experienced injury stemming from the purchase of that product.”); Carrea v. Dreyer's Grand Ice
   Cream, Inc., 2011 U.S. Dist. LEXIS 6371, at **7-8 (N.D. Cal. Jan. 10, 2011) (“Plaintiff has not,
26 however, alleged that he purchased Defendant's Dibs products or otherwise suffered any injury or
   lost money or property with respect to those products. Any claims as to the Dibs products are
27 therefore dismissed without prejudice for lack of standing.”); Johns v. Bayer Corp., 2010 U.S.
   Dist. LEXIS 10926, at *13 (S.D. Cal. Feb. 9, 2010) (no standing because a plaintiff “cannot
28 expand the scope of his claims to include a product he did not purchase….”).

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 1 WSI’s website.” (Id. ¶ 119.) Plaintiff lacks standing to pursue claims for any advertising

 2 statements other than those he allegedly encountered on the Williams-Sonoma Home website. 3

 3 See, e.g., Arroyo, 2015 U.S. Dist. LEXIS 133473, at **9-11 (dismissing UCL and FAL claims

 4 because plaintiff did not have “standing for…marketing material he did not view.”); Leonhart,

 5 2014 U.S. Dist. LEXIS 46413, at **14-15 (dismissing UCL and FAL claims because plaintiff

 6 lacked standing to “assert[] claims regarding statements she never saw….”). 4

 7           Finally, Plaintiff lacks standing to pursue claims against Defendants that did not sell or

 8 advertise the WSH Signature Bedding. Plaintiff alleges that he purchased the WSH Signature

 9 Bedding from WSI. (FAC ¶¶ 117-127.) Plaintiff alleges that he “had to rely on WSI and its

10 Advertising and Marketing Subsidiaries’ representations” about the WSH Signature Bedding in

11 the product listing on the Williams-Sonoma Home website. (FAC ¶ 119). 5 Plaintiff cannot pursue

12 claims against WSS, which “is in the business of managing WSI’s brick-and-mortar stores,” (FAC

13 ¶ 21), stores that Plaintiff never visited (id. ¶ 119), and Pottery Barn, PBKids, PBteen, and West

14 Elm because Plaintiff did not view any of their advertising or purchase any of their products. All

15 claims against WSS, Pottery Barn, PBKids, PBteen, and West Elm must be dismissed.

16 V.        PLAINTIFF’S FAL CLAIMS BASED ON ADVERTISING OF THE WSH
             SIGNATURE BEDDING FAIL
17
             The FAL “makes it unlawful for any person to ‘induce the public to enter into any
18
     obligation’ based on a statement that is ‘untrue or misleading, and which is known, or which by
19

20   3
     Additionally, the alleged misrepresentations related to the products that Plaintiff did not
21 purchase—the Pottery Barn Sheet Set, the PBteen Sheet Set, and the West Elm Sheet Set—are
   different than the alleged misrepresentation about the WSH Signature Bedding. Specifically,
22 Plaintiff alleges that the Pottery Barn Sheet Set, the PBteen Sheet Set, and the West Elm Sheet Set
   were marketed as one-ply, but that the one-ply thread counts were incorrect. (FAC ¶¶ 60, 63, 66.).
23 These alleged misrepresentations are different in nature than the alleged misrepresentations about
   the WSH Signature Bedding, which was allegedly marketed as “[s]ewn from lustrous 600-thread-
24 count two ply Egyptian-cotton sateen” (id. ¶¶ 118-120), which Plaintiff contends was based on
   Defendants’ alleged “multipli[cation] of the true thread count of 291 by the number of plies, here
25 two, to get to the advertised 600 thread counts” (id. ¶ 3).
   4
     See also Granfield, 2012 U.S. Dist. LEXIS 98678, at **18-19; Johns, 2010 U.S. Dist. LEXIS
26 10926, at *13 (no standing because a plaintiff “cannot expand the scope of his claims to
   include…advertisements…that he did not rely upon.”).
27 5
     The FAC defines WSDTC as WSI’s “Marketing Subsidiary” and WSA and WSI’s “Advertising
28 Subsidiary.” (FAC ¶¶ 19-20.)

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 1 the exercise of reasonable care should be known, to be untrue or misleading.’” Davis v. HSBC

 2 Bank, 691 F.3d 1152, 1161-62 (9th Cir. 2012) (quoting Cal. Bus. & Prof. Code § 17500). Because

 3 Plaintiff’s FAL claims arising from WSI’s, WSDTC’s, and WSA’s alleged advertisement of the

 4 WSH Signature Bedding are “grounded in fraud,” they must satisfy the heightened pleading

 5 requirements of Federal Rule of Civil Procedure 9(b). Fazio v. Apple, Inc., 2016 U.S. App.

 6 LEXIS 3373, at *3 (9th Cir. Feb. 25, 2016). This requires Plaintiff to “state with particularity the

 7 circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Thus, Plaintiff must allege, in detail, “the

 8 who, what, when, where, and how” of the alleged misconduct to state a FAL claim. Fazio, 2016

 9 U.S. App. LEXIS 3373, at **3-4 (dismissing claim that Apple’s representations were misleading

10 because “[f]ailure to meet plaintiffs’ undefined expectations of consistency does not render

11 Apple’s representations misleading.”) Moreover, “[a]llegations based on ‘information and belief

12 usually do not satisfy the degree of particularity required under Rule 9(b).’” Mee v. I A Nutrition,

13 Inc., 2015 U.S. Dist. LEXIS 106934, at **28-29 (N.D. Cal. Aug. 13, 2015) (quoting Wool v.

14 Tandem Computers Inc., 818 F.2d 1433, 1439 (9th Cir. 1987)). Such allegations can only

15 establish the requisite particularity if they set forth “the facts upon which the belief is founded.”

16 Id. at *28.

17           Plaintiff’s FAL claims are based on WSI’s, WSDTC’s, and WSA’s alleged false or

18 misleading description of the “thread count,” “quality,” “origin,” and “yarn quality” of the WSH
19 Signature Bedding. (FAC ¶¶ 132, 137.) Plaintiff’s FAL claims arise from the following

20 “webpage offering…Williams-Sonoma Home’s ‘Signature 600-Thread-Count Sateen Bedding”:

21

22

23

24

25

26

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 1 (FAC ¶¶ 120-121.) Plaintiff alleges that he purchased the WSH Signature Bedding because the

 2 Williams-Sonoma Home “website advertised them as being 600 thread count, made in Italy, made

 3 of Egyptian cotton, and the retailer’s ‘Signature’ line.” (Id. at ¶ 118; see also id. at ¶ 124.)

 4 Plaintiff alleges that he “expected the sheets to be of high quality, extremely soft and luxurious.”

 5 (Id. at ¶ 125). Plaintiff also alleges that the sheets falsely stated the thread count, and because of

 6 that, “he also doubts with [sic] the sheets are actually Egyptian cotton or made in Italy as the

 7 advertising and packaging suggests.” (Id. at ¶ 107). As set forth below, Plaintiff’s allegations are

 8 insufficient to state a claim under the FAL.

 9           A.          Plaintiff’s FAL Claims Based On “Thread Count” Fail
10           Plaintiff’s FAL claims based on advertising of the “thread count” of the WSH Signature

11 Bedding fail because: (1) the “thread count” disclosures comply with federal law; and (2) Plaintiff

12 has failed to allege how WSI’s, WSDTC’s, or WSA’s advertising of the WSH Signature Bedding

13 as “600-thread-count two ply” is untrue or misleading.

14                       1.    Advertising Of The WSH Signature Bedding’s “Thread Count”
                               Complies With Applicable Law
15
             Conduct that complies with state or federal statutes or regulations cannot be a violation of
16
     the FAL. Alvarez v. Chevron Corp., 656 F.3d 925, 933-34 (9th Cir. 2011); Davis, 691 F.3d at
17
     1165; Parent v. MillerCoors LLC, 2015 U.S. Dist. LEXIS 145071 (S.D. Cal. Oct. 26, 2015); POM
18
     Wonderful LLC v. Coca Cola Co., 2013 U.S. Dist. LEXIS 33501, at **14-15 (C.D. Cal. Feb. 13,
19
     2013); Cel-Tech Comms., Inc. v. L.A. Cellular Tell. Co., 20 Cal. 4th 163, 183 (1999). Here,
20
     federal customs regulations require that individual threads within multi-ply yarns in an imported
21
     textile like the WSH Signature Bedding be counted individually, such that a textile “containing
22
     100 two-ply yarns in one square centimeter must be reported as 200 single threads”—exactly how
23
     Plaintiff alleges that WSI, WSDTC, and WSA counted the threads in the WSH Signature Bedding.
24
     (FAC ¶ 3.)
25
             Plaintiff alleges that the WSH Signature Bedding was “Made in Italy.” (FAC ¶ 51.)
26
     Imported products are governed by the Customs and Border Protections Regulations of the United
27
     States codified in Title 19 of the Code of Federal Regulations. 19 C.F.R § 141.0 (1973) (“This
28

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 1 part sets forth general requirements and procedures for the entry of imported merchandise….”).

 2 Pursuant to 19 C.F.R § 141.81 (1973), “[a] commercial invoice shall be presented for each

 3 shipment of merchandise at the time the entry summary is filed, subject to the conditions set forth

 4 in these regulations.” The invoice must be “filed for each shipment of merchandise” and

 5 “prepared in the manner customary in the trade, [and] contain the information required by §§

 6 141.86 through 141.89….” 19 C.F.R § 141.83(c)(1) (1973).

 7           19 C.F.R § 141.89 provides that the invoices for certain “classes of merchandise,

 8 classifiable under the Harmonized Tariff Schedule of the United States (HTSUS), shall set

 9 forth…additional information.” Invoices for cotton fabrics must include, inter alia, the “[n]umber

10 of single threads per square centimeter (All ply yarns must be counted in accordance with the

11 number of single threads contained in the yarn; to illustrate: a cloth containing 100 two-ply

12 yarns in one square centimeter must be reported as 200 single threads)….” 19 C.F.R §

13 141.89(a) (1973) (emphasis added). Here, the Plaintiff alleges that the WSH Signature Bedding

14 was described as “[s]ewn from lustrous 600-thread-count two ply Egyptian-cotton sateen” (FAC

15 ¶¶ 118-120 (emphasis added)) based on Defendants’ “multipli[cation] of the true thread count of

16 291 by the number of plies, here two, to get to the advertised 600 thread counts” (id. ¶ 3).

17 Defendants’ alleged method of counting threads complies with the federal regulations in 19 C.F.R

18 § 141.89(a). As such, Plaintiff’s FAL claims based on advertising of the WSH Signature Bedding
19 fail as a matter of law, and should be dismissed.

20                       2.   Plaintiff Has Not Alleged An FAL Claim Based On Advertising Of The
                              WSH Signature Bedding’s “Thread Count” With Sufficient
21                            Particularity
22           To state a claim based on alleged false or misleading descriptions of “thread count” in the

23 WSH Signature Bedding, Plaintiff must satisfy Federal Rule of Civil Procedure 9(b) and allege, in

24 detail, “the who, what, when, where, and how” of the alleged misconduct. Fazio, 2016 U.S. App.

25 LEXIS 3373, at *3. Plaintiff has failed to do so.

26           In particular, Plaintiff has not sufficiently alleged how WSI’s, WSDTC’s, and WSA’s

27 description of the WSH Signature Bedding as “600-thread-count two ply” is untrue or misleading.

28 The advertising disclosed that WSH Signature Bedding was “600 thread-count two ply.” As

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 1 Plaintiff’s own allegations confirm, the WSH Signature Bedding that he purchased included 291

 2 two ply yarns (i.e., yarns created by twisting two yarns together) meaning that the total number of

 3 “threads” was 582. This was clearly disclosed in the advertising of the WSH Signature Bedding

 4 (FAC ¶ 121) in accordance with relevant federal regulations, and the two-ply thread count is well

 5 within the 5% maximum deviation that Plaintiff alleges, without citation, that “[t]he textile

 6 industry allows for….” (Id. ¶ 36.) 6 WSI, WSDTC, and WSA did not advertise the WSH

 7 Signature Bedding as “600-thread-count” alone or as “600-thread-count single ply,” and cannot be

 8 subject to liability under the FAL based on Plaintiff’s apparent subjective belief that the WSH

 9 Signature Bedding was “600-thread-count single ply.” Fazio, 2016 U.S. App. LEXIS 3373, at

10 **3-4 (dismissing claim that representations were misleading because “[f]ailure to meet plaintiffs’

11 undefined expectations of consistency does not render…representations misleading.”)

12           B.          Plaintiff’s FAL Claims Based On “Origin,” “Yarn Quality” Or “Quality” Of
                         The WSH Signature Bedding Fail
13
             Plaintiff’s FAL claims based on the “origin,” “yarn quality” or other alleged advertised
14
     characteristics of the WSH Signature Bedding fail because: (1) Plaintiff has not alleged any
15
     actually untrue and misleading statement; and (2) FAL claims cannot be based on mere marketing
16
     “puffery.”
17
                         1.    Plaintiff Has Not Alleged That Advertising Of The “Origin” Or “Yarn
18                             Quality” Of The WSH Bedding Was Untrue Or Misleading
19           As with claims based on “thread count,” Plaintiff’s FAL claims arising from allegedly

20 untrue or misleading statements about the “origin” or “yarn quality” (FAC ¶¶ 132, 137) of the

21 WSH Signature Bedding must be stated with particularity. Plaintiff, however, has not alleged any

22 facts supporting his claim that WSI’s, WSDTC’s, or WSA’s descriptions of the “quality” or

23 “origin” of the WSH Signature Bedding were false or misleading. Instead, Plaintiff alleges that

24 “he has doubts” whether the WSH Signature Bedding is “actually Egyptian cotton or made in Italy

25
     6
26   Because the advertising for the WSH Signature Bedding disclosed that the WSH Signature
   Bedding was “600-thread-count two ply,” it complies with the FTC staff advisory opinion cited by
27 Plaintiff, in which FTC opined that “[a] possible non-deceptive way to disclose both the thread
   count and the yarn ply would be to state, for example, ‘300 thread count, 2 ply yarn.’” (FAC ¶ 41
28 (emphasis added).)

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 1 as the advertising or packaging suggests.” (Id. ¶ 126.) This allegation is insufficient to satisfy

 2 Rule 9(b), and to the extent Plaintiff’s FAL claims rely on these allegations, they must be

 3 dismissed. Mee, 2015 U.S. Dist. LEXIS 106934, at **28-29 (dismissing FAL claim because

 4 plaintiff did not allege a basis for claim based on alleged false description of product).

 5                       2.    Plaintiff’s FAL Claims Regarding “Quality” Of The WSH Signature
                               Bedding Cannot Be Based On Mere “Puffery”
 6
             Words like “elegant,” “lustrous” or “rich” (FAC ¶ 121) cannot serve as the basis for FAL
 7
     claims. Such “‘generalized, vague, and unspecific assertions [are] mere ‘puffery’ upon which a
 8
     reasonable consumer could not rely’” and “cannot form the basis” of FAL claims In re iPhone 4s
 9
     Consumer Litig., 2013 U.S. Dist. LEXIS 103058, at *38 (N.D. Cal. Jul. 23, 2013) (quoting Glen
10
     Holly Entm’t, Inc. v. Tektronix, Inc., 352 F.3d 367, 379 (9th Cir. 2003)). To the extent that
11
     Plaintiff’s FAL claims related to the purported “quality” of the WSH Signature Bedding (FAC ¶
12
     132) rely on these allegations, they must be dismissed.
13
     VI.     PLAINTIFF’S UCL CLAIMS FAIL
14
             California’s UCL prohibits any “unlawful, unfair or fraudulent business act or practice.”
15
     Cal. Bus. Prof. Code § 17200. UCL claims are analyzed under one or more of three prongs:
16
     “unlawful,” “unfair” and “fraudulent.” Like Plaintiff’s FAL claims, Plaintiff’s UCL claims arising
17
     from WSI’s, WSDTC’s, or WSA’s advertisement of the WSH Signature Bedding are grounded in
18
     fraud and must satisfy the heightened pleading requirements of Rule 9(b). Fazio, 2016 U.S. App.
19
     LEXIS 3373, at *3. Plaintiff has failed to allege a claim under any of the UCL’s prongs.
20
             A.          Plaintiff Has Not Alleged A Claim Under The Unlawful Prong Of The UCL
21
             A UCL cause of action based on an unlawful business practice borrows violations of other
22
     laws and treats those violations as independently actionable. Farmers Ins. Exchange v. Sup. Ct., 2
23
     Cal. 4th 377, 383 (1992). A plaintiff must specifically identify the underlying statute that has been
24
     violated. Khoury v. Maly’s of Cal., Inc., 14 Cal. App. 4th 612, 619 (1993). As with the FAL,
25
     conduct that is authorized by law constitutes a “safe harbor” precluding liability under the UCL.
26
     Cel-Tech, 20 Cal. 4th at 182.
27

28

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 1           Plaintiff generally alleges that the “business practices alleged” in the FAC are unlawful

 2 under: (1) “the Federal Trade Commission Act (FTCA) § 45(a), which forbids deceptive

 3 advertising”; (2) “California’s Consumer Legal Remedy Act (‘CLRA’), which also forbids

 4 deceptive advertising”; (3) “§ 17200 by virtue of violating § 17500, which forbids untrue and

 5 misleading advertising”; and (4) “Deerings Ann. UCC § 2313” as a breach of express warranty,

 6 “Deerings Ann. UCC § 2315” as a breach of implied warranty for fitness for a particular purpose,

 7 and “Deerings Ann. UCC § 2314” as a breach of implied warranty of merchantability. (FAC ¶¶

 8 145-148.) 7 Plaintiff’s “Unlawful Business Practice” claim fails for a number of reasons.

 9           First, Plaintiff has not sufficiently pled a basis for finding that WSI’s, WSDTC’s, or

10 WSA’s alleged conduct related to the WSH Signature Bedding violated the FTCA, the CLRA, or

11 Deerings Ann. UCC § 2315. A UCL plaintiff “may not simply set forth a catalogue of statutes

12 that purportedly were violated by defendants.” Moroney v. Am. Int’l Group (In re Bacon), 415 F.

13 Supp. 2d 1027, 1034 (N.D. Cal. 2006). Plaintiff has not asserted claims under the FTCA, the

14 CLRA, or Deerings Ann. UCC § 2314, alleged the elements of those claims, or identified the facts

15 that Plaintiff contends satisfy those causes of action. As such, to the extent that Plaintiff’s UCL

16 claims are based on alleged violations of FTCA, the CLRA, or Deerings Ann. UCC § 2315, they

17 should be dismissed. Id.

18           Second, as set forth above, Plaintiff has failed to allege a violation of the FAL because: (1)

19 the “two ply” thread count advertised for the WSH Signature Bedding complies with federal law;

20 (2) Plaintiff has failed to allege anything false or untrue in the advertising of the WSH Signature

21 Bedding as “600-thread-count two ply”; (3) Plaintiff has not sufficiently alleged that the

22 representations about the “origin” and “yarn quality” of the WSH Signature Bedding are false or

23

24
     7
25   Despite the fact that Plaintiff spends several pages of the FAC describing ASTM International’s
   purported “Standard Test Method,” the FTC staff opinion dated August 2, 2015, and alleged
26 consumer research articles (see FAC ¶¶ 35-44), Plaintiff has not alleged that they constitute a law
   that may serve as a predicate violation under the unlawful prong of the UCL. (FAC ¶¶ 145-148.)
27 In fact, the FTC opinion is merely a “staff advisory” opinion, as opposed to an FTC opinion (FAC
   ¶ 41 at 13:3-5), is governed by 16 C.F.R. §§ 1.1 et seq., and is subject to revision or rescission by
28 the FTC.

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 1 misleading; and (4) Plaintiff cannot base claims on mere marketing “puffery” like “soft” or

 2 “luxurious.”

 3           Finally, as set forth in below, Plaintiff has not alleged claims for breach of express

 4 warranty or implied warranty of merchantability, or unjust enrichment based on the WSH

 5 Signature Bedding.

 6           B.          Plaintiff Has Not Alleged A Claim Under The Unfair Prong Of The UCL
 7           Because “the precise contours of an ‘unfair business practice’ under the UCL are currently

 8 in flux,” it appears that a plaintiff alleging a violation of the “unfair prong” of the UCL must

 9 satisfy one of two tests. Hodsdon v. Mars, Inc., 2016 U.S. Dist. LEXIS 19268, at *21 (N.D. Cal.

10 Feb. 17, 2016).

11           Under the first test, a plaintiff must establish that the alleged unfair business practice

12 “offends an established public policy or…is immoral, unethical, oppressive, unscrupulous or

13 substantially injurious to consumers.” Hodsdon, 2016 U.S. Dist. LEXIS 19268, at *21 (quoting S.

14 Bay Chevrolet v. Gen. Motors Acceptance Corp., 72 Cal. App. 4th 861, 886-87 (1999)). This test

15 requires “courts to examine the practice’s impact on its alleged victim, balanced against the

16 reasons, justifications and motives of the alleged wrongdoer.” Id. (internal quotations omitted).

17 Despite the fact that this test is sometimes applied by federal courts, the California Supreme Court

18 “has criticized this approach…as ‘too amorphous’ to provide meaningful ‘guidance to courts and
19 businesses.’” Id. (quoting Cel-Tech, 20 Cal. 4th at 185). Under the second test, a claim for

20 violation of the unfair prong of the UCL must “be tethered to some specific constitutional,

21 statutory, or regulatory provisions.” Hodsdon, 2016 U.S. Dist. LEXIS 19268, at *21. A business

22 practice that is authorized by law cannot be considered unfair under either test. Churchill Village,

23 LLC. v. General Electric Co., 169 F. Supp. 2d 1119, 1130 (N.D. Cal. 2000).

24           Plaintiff’s unfairness claim fails at the outset because, as set out above, WSI’s, WSDTC’s,

25 WSA’s alleged unfair conduct is expressly authorized by law.

26           Further, the FAC fails the first test because the only allegation that attempts to satisfy the

27 first test is plainly conclusory. FAC, ¶ 154 (“Purchasers of WSI’s bedding that is falsely

28 described suffered a substantial injury by virtue of paying an excessive price for unfairly

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 1 advertised bedding.”). The Court need not accept this legal conclusion clothed as a factual

 2 allegation. Western Mining Council, 643 F.2d at 624.

 3           Plaintiff fails the second test because he cannot establish a predicate violation. Plaintiff

 4 does not even attempt to establish violations of the FTCA, the CLRA, or Deerings Ann. UCC §

 5 2315. And, as set forth herein, Plaintiff cannot establish violations of the FAL, breach of

 6 warranties, or a claim for unjust enrichment. Plaintiff’s unfairness claim should be dismissed.

 7           C.          Plaintiff Has Not Alleged A Claim Under The Fraudulent Prong Of The UCL
 8           To state a claim for violation of the fraudulent prong of the UCL, the FAC must establish

 9 that “members of the public are likely to be deceived.” Davis v. HSBC Bank Nevada, N.A., 691

10 F.3d 1152, 1169 (9th Cir. 2012); Morgan v. AT&T Wireless Servs., Inc., 177 Cal. App. 4th 1235,

11 1254 (2009). Courts apply a “reasonable consumer” standard to make this determination. Davis,

12 691 F.3d at 1169 (citing Puentes v. Wells Fargo Home Mortg., Inc., 160 Cal. App. 4th 638, 645

13 (2008)). Dismissal of fraudulent business practice claims is appropriate where review of a

14 allegedly fraudulent statements demonstrates that consumer confusion is unlikely as a matter of

15 law. See, e.g., Werbel ex rel v. Pepsico, Inc., 2010 U.S. Dist. LEXIS 76289, *8 (N.D. Cal. Jul. 2,

16 2010); Videtto v. Kellogg USA, 2009 U.S. Dist. LEXIS 43114, *8 (E.D. Cal. May 20, 2009).

17           Here, both the advertising for, and packaging of, the WSH Signature Bedding clearly and

18 accurately describes the WSH Signature Bedding as “600 thread count, two ply”:
19                Packaging                                          Advertising
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 1 (FAC ¶¶ 51, 121.) Plaintiff fails to allege how this description would deceive a reasonable

 2 consumer, particularly where the description of the WSH Signature Bedding complies with

 3 applicable federal law. As such, Plaintiff’s claim for fraudulent business practice fails.

 4 VII.      PLAINTIFF’S WARRANTY CLAIMS FAIL
 5           Plaintiff’s sixth cause of action for “Breach of Express Warranty (U.C.C. Article 2)” and

 6 seventh cause of action for “Breach of Implied Warranty of Merchantability (U.C.C. Article 2)”

 7 must be dismissed because Plaintiff failed to provide Defendants with reasonable notice of the

 8 alleged breach. Even if Plaintiff had provided reasonable notice, Plaintiff’s warranty claims

 9 would still fail because he has not alleged the elements of either claim. 8

10           A.          The FAC Does Not Allege Pre-Suit Notice
11           To plead a claim for breach of express or implied warranty under California law, a plaintiff

12 must plead that he or she provided the defendant with pre-suit notice of the alleged breach. Cal.

13 Comm. Code § 2607(3)(a); S. Cal. Stroke Rehab. Assocs. v. Nautilus, Inc., 2012 U.S. Dist. LEXIS

14 135521, at *4 (S.D. Cal. Sept. 21, 2012) (applying California law) (“[C]auses of action for breach

15 of express and implied warranties expressly require as an essential element of each claim that the

16 buyer provide the seller with reasonable notice of the breach. Notice must be given prior to the

17 filing of a lawsuit.”); Baltazar v. Apple, Inc., 2011 U.S. Dist. LEXIS 13187, at *5 (N.D. Cal. Feb.

18 10, 2011) (applying California law); Andrade v. Pangborn Corp., 2004 U.S. Dist. LEXIS 22704,
19 at **61-64 (N.D. Cal. Oct. 22, 2004) (applying California law). “The purpose of giving notice of

20 breach is to allow the breaching party to cure the breach and thereby avoid the necessity of

21 litigating the matter in court.” Alvarez v. Chevron Corp., 656 F.3d 925, 932 (9th Cir. 2011)

22 (applying California law) (dismissing warranty claims without leave to amend for failure to

23 provide pre-suit notice); see also S. Cal. Stroke Rehab. Assocs., 2012 U.S. Dist. LEXIS 135521, at

24 *5.

25

26   8
     Plaintiff has not alleged whether he is asserting his warranty claims under California law. Given
27 this, and the fact that Plaintiff’s other claims are under California law, Defendants assume for the
   purposes of this Motion that Plaintiff has pled warranty claims under California’s version of the
28 Uniform Commercial Code codified at Cal. Comm. Code §§ 1101, et seq.

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 1           Plaintiff’s warranty claims fail because he has not alleged that he provided pre-suit notice

 2 to Defendants. (See FAC at ¶¶ 121-26.) Plaintiff alleges that he purchased the WSH Signature

 3 Bedding on or around February 10, 2015. (Id. ¶ 118.) Plaintiff alleges that he inspected the WSH

 4 Signature Bedding upon receipt and “was so disappointed in the quality…that he decided not to

 5 give them to his wife for Valentine’s Day.” (Id. ¶ 125.) Plaintiff does not allege that he attempted

 6 to return the WSH Signature Bedding, or otherwise notify Defendants of their alleged breach

 7 despite feeling “betrayed.” (Id. ¶ 126.) Instead, Plaintiff filed the FAC nearly a year after initially

 8 receiving—and allegedly being disappointed with—the WSH Signature Bedding. Because

 9 Plaintiff has not alleged any pre-suit notice, his warranty claims should be dismissed with

10 prejudice. Alvarez, 656 F.3d at 932-35.

11           B.          The FAC Does Not Allege A Breach Of Express Warranty
12           “To plead an action for breach of express warranty under California law, a plaintiff must

13 allege: (1) the exact terms of the warranty; (2) reasonable reliance thereon; and (3) a breach of

14 warranty which proximately caused plaintiff’s injury.” Baltazar, 2011 U.S. Dist. LEXIS 13187, at

15 *5 (citing Williams v. Beechnut Nutrition Corp., 185 Cal. App. 3d 135, 142 (1986)). A “specific

16 and unequivocal” factual description of the goods may create an express warranty. T&M Solar &

17 Air Conditioning, Inc. v. Lennox Int’l Inc., 83 F. Supp. 3d 855, 875-876 (N.D. Cal. 2015); see also

18 Cal. Com. Code § 2313(1)(b); Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 893 (C.D.
19 Cal. 2013) (to state a claim for breach of express warranty, a plaintiff must allege that the

20 defendant’s statements constituted an affirmation of fact or promise or a description of the goods).

21 Certain statements, however—like affirmations of value or opinion—do not create an express

22 warranty. Id. at 875-76.

23           Here, Plaintiff alleges that “Defendants warranted in the advertising and packaging of the

24 bedding Plaintiff purchased that the bedding was ‘[t]ailored from 600-thread-count-two-ply

25 Egyptian cotton sateen, our luxe and lustrous Italian sheeting becomes even richer in texture with

26 use and laundering.’” (FAC ¶ 169.) Plaintiff alleges that Defendants “breached this warranty by

27 providing…sheeting [that] contains less than one-half the 600 thread count warranted.” (Id. ¶

28 170.) Plaintiff, however, has failed to allege any actual breach. As Plaintiff admits, the WSH

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 1 Signature Bedding was advertised as “600-thread-count-two-ply”—a description that is factually

 2 accurate and complies with applicable federal law. Furthermore, Plaintiff has failed to allege that

 3 WSI’s, WSDTC’s, or WSA’s alleged conduct was the proximate cause of his injury. Plaintiff

 4 does not allege that he gave any of the Defendants notice of their alleged breach to enable them to

 5 cure, or attempted to return the WSH Signature Bedding when he became aware of the fact that

 6 they did not comply with the alleged warranty. Alvarez, 656 F.3d at 932.

 7           C.          The FAC Does Not Allege A Breach Of The Implied Warranty Of
                         Merchantability
 8
             “The implied warranty of merchantability does not ‘impose a general requirement that
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     goods precisely fulfill the expectation of the buyer. Instead, it provides for a minimum level of
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     quality.’” T&M Solar, 83 F. Supp. 3d at 878 (quoting Am. Suzuki Motor Corp. v. Sup. Ct., 37 Cal.
11
     App. 4th 1291 (1995)). Thus, “to state a claim for breach of the implied warranty of
12
     merchantability, a plaintiff must allege a “fundamental defect that renders the product unfit for its
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     ordinary purpose.” Id. “In other words, a plaintiff claiming breach of an implied warranty of
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     merchantability must show that the product ‘did not possess even the most basic degree of fitness
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     for ordinary use’.....” Id. (internal citations omitted); see also Birdsong v. Apple, Inc., 590 F.3d
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     955, 958 (9th Cir. 2009) (“A breach of the warranty of merchantability occurs if the product lacks
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     even the most basic degree of fitness for ordinary use.”). The allegations in the FAC do not meet
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     this standard. Plaintiff does not allege that the WSH Signature Bedding did not “possess even the
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     most basic degree of fitness for ordinary use.” Instead, Plaintiff merely alleges that he was
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     “disappointed” in the “quality” of the WSH Signature Bedding. (FAC ¶ 125.) This is insufficient
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     to state a claim for breach of implied warranty.
22
     VIII. PLAINTIFF’S UNJUST ENRICHMENT CLAIM FAILS
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             Plaintiff’s claim for unjust enrichment fails because, as discussed above, he has failed to
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     allege any wrongful conduct by Defendants related to the WSH Signature Bedding.
25
             Furthermore, most California courts do not recognize unjust enrichment as “a proper cause
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     of action under California law.” Arevalo v. Bank of Am. Corp., 850 F. Supp. 2d 1008, 1028 (N.D.
27
     Cal. 2011) (“California courts appear to agree. ‘[T]here is no cause of action in California for
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 1 unjust enrichment.’”) (quoting Melchior v. New Line Prod., Inc., 106 Cal. App. 4th 779, 793

 2 (2003)); see also Nguyen v. Wells Fargo Bank N.A., 2015 U.S. Dist. LEXIS 100851, at *21 (C.D.

 3 Cal. Feb. 18, 2015) (“Plaintiff’s unjust enrichment claim fails because the majority of state and

 4 federal district courts in California do not recognize unjust enrichment as a freestanding claim.”).

 5 For this reason, Plaintiff’s unjust enrichment claim should be dismissed.

 6           Furthermore, to the extent California courts ever recognize a claim for “unjust

 7 enrichment,” it is only where the claim seeks restitution. Arevalo, 850 F. Supp. 2d at 1028.

 8 Where a plaintiff seeks restitution under other legal theories, “the unjust enrichment claim add[s]

 9 nothing to the relief available to him,” and the claim should be dismissed. Id. (dismissing unjust

10 enrichment claim with prejudice where plaintiffs sought restitution under the UCL and FAL). 9

11 Here, Plaintiff seeks restitution for, at least his FAL and UCL claims. (FAC ¶¶ 133, 141, 149,

12 160, 166.) Finally, Plaintiff has failed to allege any benefit conferred on Defendants, which

13 Defendants unjustly retained. The WSI Signature Bedding was marketed accurately and in

14 compliance with applicable law. Accordingly, even if the Court decides to recognize a claim for

15 “unjust enrichment” (it should not), Plaintiff’s unjust enrichment claim should be dismissed.

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     Defendants also note that Plaintiff’s sole unjust enrichment allegations are: (1) “[a]s a result of
25 deceptive conduct, WSI was enriched at the expense of Plaintiff and those similarly situated;” (2)
   “[i]t would be unjust and inequitable for Defendants to retain its [sic] profits earned from
26 misrepresenting its [sic] products to increase sales;” and (3) [t]herefore, the funds that Defendants
   have received from consumers should be disgorged as illegally gotten gains.” (FAC ¶¶ 181-83.)
27 These “threadbare recitals of the elements of a cause of action, supported by mere conclusory
   statements,” Iqbal, 556 U.S. at 678, and do not state “enough facts to state a claim to relief that is
28 plausible on its face,” Twombley, 550 U.S. at 570.

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 1 IX.       CONCLUSION
 2           For the foregoing reasons, Defendants respectfully request that the Court grant their

 3 Motion, and dismiss the FAC with prejudice.

 4 Dated: April 20, 2016                 SHEPPARD MULLIN RICHTER & HAMPTON LLP

 5
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12                                                BARN KIDS, INC., POTTERY BARN TEEN, INC.,
                                                              and WEST ELM, INC.
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